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7
                                     UNITED STATES DISTRICT COURT
8                                         DISTRICT OF NEVADA

9     UNITED STATES OF AMERICA,
                                                 Case No.: 3:19-cr-00026-LRH-WGC
10                           Plaintiff,
                  vs.                            [PROPOSED] Order on Motion to Continue
11
      MYRON MOTLEY, et al.,
12
                            Defendants.
13

14    UNITED STATES OF AMERICA,                  Case No.: 3:19-cr-00027-LRH-WGC

15                           Plaintiff,          [PROPOSED] Order to Continue
                  vs.
16
      RANDY RAIHALL, et al.,
17
                            Defendants.
18

19
            Defendant Joseph Jeanette has moved to continue the trial date in United States v. Motley,
20
     Case No. 3:19-cr-00026-LRH-WGC (the “Motley Case”) to permit counsel additional time to
21
     prepare for trial. ECF No. 172. At the time of the motion to continue, trial in the Motley Case
22
     was set for December 1, 2020; trial in the companion case United States v. Raihall, Case No. 3:19-
23
     cr-00027-LRH-WGC (the “Raihall Case”), was also set for that date in the event the Motley


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1    Case does not proceed to trial. See ECF No. 156.1 Jeanette’s motion indicated that defendant

2    Myron Motley, a defendant in both the Motley Case and the Raihall Case opposed any further

3    continuances of the trial date. ECF No. 172 at 2. In its response to the motion to continue, the

4    government indicated that it did not oppose the motion, but that it was ready to proceed to trial

5    in either case on the dates currently set. ECF No. 173 at 2.

6           On October 26, 2020, the Court held a status conference to discuss the motion to

7    continue and scheduling for the Motley Case and the Raihall Case. Counsel for defendant

8    Jeanette, who had been appointed counsel in June of this year following the unexpected passing

9    of defendant Jeanette’s prior counsel, advised the Court that further time for preparation was

10   needed. Specifically, counsel for defendant Jeanette advised that discovery in this matter is

11   voluminous and that complications related to the ongoing coronavirus pandemic had created

12   logistical difficulties in investigating the case.

13          Counsel for defendant Motley confirmed that defendant Motley opposed any further

14   continuances. In addition to the Motley and Raihall Cases, trial in United States v. Prior, 3:18-cr-

15   00019-LRH-CLB (the “Prior Case”), is also set to commence in early December, with jury

16   selection in Elko, Nevada to begin the same week the Motley and Raihall Cases were set to

17   proceed prior to the status conference. Both the undersigned and counsel for defendant Motley

18   are currently assigned to the Prior Case. Pursuant to the District’s internal plan for resuming jury

19   trials during the coronavirus pandemic,2 current safety protocols permit only one jury trial at a

20   time in the Bruce R. Thompson Courthouse. The District’s internal plan also establishes that

21
            1
              References to docket entries in this Order refer to entries in the Motley Case. In the event
22          the Motley Case did proceed to trial on December 1, 2020, the Raihall case was set for an
            alternative trial date of December 15,2020. See Order, ECF No. 156.
23          2
              Available at: https://www.nvd.uscourts.gov/wp-content/uploads/2020/10/Plan-for-
            Jury-Trials-Web-Summary-Final-October-20-2020.pdf




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1    defendants who have been in custody for the longest period of time are to be given priority.

2    Defendant Stoney Prior has been in custody since February of 2018, and therefore the Prior Case

3    would be given priority if both the Prior Case and either of the Motley or Raihall Cases were to

4    continue to proceed to trial.

5           While the Court has confirmed that another district court judge would be available to

6    oversee either the Motley Case or the Raihall Case the first week of December, counsel for

7    defendant Motley advised the Court that given his obligation to the Prior Case, he would be

8    practically unavailable to try either the Motley or Raihall Case on either December 1, 2020 or

9    December 15, 2020. The Court inquired as to whether counsel for defendant Motley believed

10   substitute counsel could be obtained to try either the Motley or Raihall Cases on the dates then-

11   set, and counsel for defendant Motley advised that he did not believe that any substitute counsel

12   would be able to effectively prepare for trial and represent defendant Motley in the remaining

13   period between the status conference and the then-set trial dates. The Court then inquired of

14   counsel for the parties if any party could think of a manner in which either the Motley Case or

15   the Raihall Case could proceed to trial on the dates currently set, and no suggestions were

16   forthcoming. The Court then inquired as to the government’s position, and the government

17   advised that while it did not oppose defendant Jeanette’s motion to continue, that its strongest

18   interest was in ensuring that defendants Motley and Jeanette be tried together, as the indictment

19   alleges they were engaged in a joint enterprise. The Court then suggested, based on the record

20   before it, that it would continue the trial date in the Motley Case to May 3, 2020 and would

21   continue the trial date in the Raihall Case to May 17, 2020. After inquiring whether any of the

22   parties had an alternative plan for how to proceed in these cases, and hearing no other

23   suggestions, the Court then continued the trial dates as indicated above.




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1           Accordingly, the Court hereby finds that under the Speedy Trial Act, the time from

2    December 1, 2020 to May 3, 2020 in the Motley Case is excludable under 18 U.S.C.

3    § 3161(h)(7), because the Court finds that the ends of justice served by this continuance outweigh

4    the best interests of the public and the defendants in a speedy trial based on the findings above.

5    The Court further finds that any period of delay within that time frame in bringing defendant

6    Motley to trial attributable to his being joined for trial with defendant Jeanette is reasonable

7    under 18 U.S.C. § 3161(h)(6). The Court likewise finds that the time from December 1, 2020 to

8    May 17, 2020 in the Raihall Case is excludable under 18 U.S.C. § 3161(h)(7), because the Court

9    finds that the ends of justice served by this continuance outweigh the best interests of the public

10   and the defendants in a speedy trial based on the findings above. The Clerk of the Court is

11   instructed to file this order in Case No 3:19-cr-00026-LRH-WGC and Case No. 3:19-cr-00027-

12   LRH-WGC.

13

14              DATED this ___day
                      this 6th dayofofNovember,
                                      November,2020.
                                                2020.

15                                                              ___________________________________
                                                                HON. LARRY H. HICKS
16                                                              UNITED STATES DISTRICT JUDGE

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